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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

SAMANTHA THOMAS,

       Plaintiff,
                                              CIVIL ACTION FILE
v.
                                              No. 1:21-cv-__________
NATIONAL CHECK RESOLUTION,
INC.,

       Defendant.

                                  COMPLAINT

      Plaintiff Samantha Thomas hereby files this action for unlawful

employment discrimination against her former employer, National Check

Resolution, Inc. (“NCR”), alleging as follows:

                          Parties, Jurisdiction & Venue

                                         1.

      Plaintiff Thomas is a woman who was employed by Defendant NCR from

approximately March 2020 until approximately November 1, 2020. She may be

contacted through undersigned counsel and submits herself to the jurisdiction and

venue of this Court for purposes of this action.
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                                          2.

      Defendant NCR is a Georgia corporation with its principal office in Buford,

Gwinnett County, Georgia, and is subject to personal jurisdiction in this judicial

district and division. At all times relevant to this action, NCR employed at least

fifteen individuals. It may be served through its registered agent, Corporation

Service Company, at 2 Sun Court, Suite 400, Peachtree Corners, Gwinnett County,

Georgia, 30092.

                                          3.

      This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331

because Plaintiff Thomas’s claims arise under federal law.

                                          4.

      Venue is appropriate in this judicial district and division pursuant to 28

U.S.C. § 1391(b) because this is the judicial district in which Defendant NCR is

deemed to reside and because this is the judicial district in which a substantial part

of the events giving rise to Plaintiff’s claims occurred.




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                      Facts Giving Rise to Plaintiff’s Claims

                                         5.

        Plaintiff Thomas was employed by Defendant NCR, a debt-collection

company, from approximately March 2, 2020, until approximately November 1,

2020.

                                         6.

        In approximately July 2020, before NCR learned that Plaintiff was pregnant,

NCR gave Plaintiff a merit-based raise, increasing her pay from $15 to $17 per

hour.

                                         7.

        Plaintiff found out she was pregnant in July 2020 and informed NCR of her

pregnancy the following month (August 2020), when she began to suffer from

debilitating side effects, such as morning sickness.

                                         8.

        When Plaintiff informed her supervisor that she was pregnant, her

supervisor responded: “That’s not good, because I have seen it happen before.”

                                         9.

        After learning of Plaintiff’s pregnancy, NCR began treating Plaintiff worse

than it did before it learned she was pregnant. For example, her supervisor quit

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assisting her with her calls when she asked for help and stopped providing her

with small gifts of cash as he had done for her and other employees in the past.

Her supervisor continued to assist other, non-pregnant employees with their calls

and to provide other, non-pregnant employees with cash gifts.

                                       10.

      NCR told Plaintiff that when she delivered her baby, she would be allowed

to take only three days of leave.

                                       11.

      On November 1, 2020, NCR terminated Plaintiff’s employment.

                                       12.

      NCR’s claimed reason for the termination—that Plaintiff was being fired for

not meeting her October collections goal—was pretextual. Other similarly situated

but non-pregnant employees who did not hit their October collections goals were

not terminated. Upon information and belief, Plaintiff was the only individual

terminated at the time, even though numerous other employees did not hit their

October goals and had even been threatened with termination if they did not meet

those goals.




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                                        13.

      In reality, NCR terminated Plaintiff’s employment because she was

pregnant. NCR believed that the pregnancy would interfere with Plaintiff’s job

performance, would cause Plaintiff to take sick leave more than a non-pregnant

employee, would cause Plaintiff to shift her focus from work to family, and would

otherwise make Plaintiff a less desirable employee than non-pregnant persons.

                     Count One: Pregnancy Discrimination

                                        14.

      Plaintiff incorporates the preceding allegations as if fully restated herein.

                                        15.

      At all times relevant to this action, NCR was engaged in an industry

affecting commerce and employed more than fifteen employees. NCR was

Plaintiff’s “employer,” and Plaintiff was NCR’s “employee,” for purposes of Title

VII of the Civil Rights Act, as amended, 42 U.S.C. § 2000e et seq.

                                        16.

      At all times relevant to this action, Plaintiff was qualified to do the job for

which she was hired by NCR.




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                                        17.

      Once Plaintiff became pregnant in July 2020, she was a member of a

protected class under Title VII, as amended. NCR was aware that she was in this

protected class by at least August 2020, approximately one month into Plaintiff’s

pregnancy.

                                        18.

      Plaintiff was subjected to disparate and adverse treatment as a result of her

pregnancy, including the termination of her employment on approximately

November 1, 2020. Even prior to her termination, between August and November

2020, she was held to a different standard and subjected to worse treatment than

her non-pregnant peers.

                                        19.

      Similarly situated employees outside of Plaintiff’s protected class (i.e., non-

pregnant employees) were given more favorable treatment than Plaintiff and were

not terminated, even though they, too, suffered from the same alleged

performance deficiencies that were relied upon as the pretextual reason for

terminating Plaintiff.




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                                        20.

      Other non-pregnant NCR employees did not meet their October collection

goals but were not terminated. Upon information and belief, nobody other than

Plaintiff was terminated for not meeting their October collection goals.

                                        21.

      Defendant’s stated reason for terminating Plaintiff was false, and its real

reason for terminating her was discriminatory based on her pregnancy.

                                        22.

      The decision to terminate Plaintiff’s employment was made by the same

supervisor who told Plaintiff that it was “not good” that she was pregnant because

he had “seen it happen before.”

                                        23.

      Defendant’s actions were taken intentionally, willfully, maliciously, and

with a wanton or reckless disregard for Plaintiff’s federally protected rights.

                                        24.

      Defendant NCR unlawfully and intentionally discriminated against

Plaintiff because of her pregnancy, in violation of Title VII, as amended. Defendant

is liable to Plaintiff for all damages actually and proximately caused by its

unlawful conduct, including lost wages (back pay and front pay in lieu of

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reinstatement, as reinstatement is neither feasible nor realistic under the

circumstances), damages for emotional distress and mental anguish, other

compensatory damages of a pecuniary and non-pecuniary nature, punitive

damages up to the maximum amount permitted under Title VII, pre- and post-

judgment interest at the maximum rates allowable by law, attorneys’ fees, and

such other legal or equitable relief as the Court or fact-finder deems appropriate.

                      Exhaustion of Administrative Remedies

                                         25.

        Plaintiff filed a charge of discrimination with the U.S. Equal Employment

Opportunity Commission (“EEOC”) within 180 days after her termination.

                                         26.

        Plaintiff received a notice of suit rights from the EEOC on October 21, 2021.

This action is filed within 90 days after Plaintiff’s receipt of that document.

                                         27.

        Plaintiff has exhausted all applicable administrative remedies to bring this

suit.

        WHEREFORE, Plaintiff respectfully asks this Court to:




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             1.     Accept this case for filing and take all necessary actions to

secure the just, speedy, and inexpensive determination of this case as provided for

in Rule 1 of the Federal Rules of Civil Procedure;

             2.     Find, order, and declare that Defendant violated Plaintiff’s

federally-protected rights as alleged herein;

             3.     Award Plaintiff all legal and equitable relief to which she is

entitled, including compensatory damages for her economic and non-economic

losses, punitive damages in an amount sufficient to punish Defendant for its

behavior toward Plaintiff and deter similar conduct in the future, back pay, front

pay in lieu of reinstatement, pre- and post-judgment interest at the maximum rates

allowable by law, attorneys’ fees and costs of litigation, and any and all other relief

deemed necessary, proper, or just;

             4.     Grant a trial by jury on all issues so triable; and

             5.     Grant any further relief deemed necessary, proper, or just.




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      Submitted this 1st day of November 2021.1



                                      ______________________________________
                                      Jennifer K. Coalson, Esq.
                                      Georgia Bar No. 266989

                                      PARKS, CHESIN & WALBERT, P.C.
                                      75 Fourteenth St., Suite 2600
                                      Atlanta, Georgia 30309
                                      (404) 873–8000
                                      jcoalson@pcwlawfirm.com

                                      Counsel for Plaintiff




      1Pursuant to Local Rule 7.1(D), undersigned counsel certifies that this filing
has been prepared with one of the font and point selections approved by the Court
in Local Rule 5.1(B).

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